              Case: 22-1754 ECF
Case 5:16-cv-10444-JEL-EAS  Document: 6 PageID.74067
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                                                               11/14/22




                          UNITED STATES COURT OF APPEALS
                               FOR THE SIXTH CIRCUIT

                                        No. 22-1754


 In re: FLINT WATER CASES


 LUKE WAID,

       Plaintiff,

 and

 CO-LEAD COUNSEL FOR THE SETTLEMENT
 CLASS; CO-LIAISON FOR THE INDIVIDUAL
 PLAINTIFFS,

       Plaintiffs-Appellees,

 v.

 RICHARD DALE SNYDER,

       Defendant,

 and

 MELVIN JONES, JR.,

       Appellant.

               Before: McKEAGUE, STRANCH, and DONALD, Circuit Judges.

                                       JUDGMENT
       THIS MATTER came before the court upon consideration of appellate jurisdiction.
                                                 Case: 22-1754 ECF
                                   Case 5:16-cv-10444-JEL-EAS  Document: 6 PageID.74068
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                                                                      No. 22-1754
                                                                           2
                                          IN CONSIDERATION THEREOF, it is ORDERED that the appeal is DISMISSED.


                                                                        ENTERED BY ORDER OF THE COURT




                                                                        Deborah S. Hunt, Clerk




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